Case 2:01-cr-20156-SH|\/| Document 257 Filed 05/25/05 Page 1 of 2 Page|D 239

~, , CAJ> t _J-.o.
Probzz

{Rev 3/98

 

“- ha

?i‘.i’"|u =‘-‘=`
TRANSFER oF JURIsDICTI' JN

LJ

_..-.
w

\,, ’)

{_, \`.Q_DCKET NUMBER (Tran. Court)
~' "j.-01CR20156_002

 

   

 

 

 

 

 

 

 

 

 

; `_ _ ; j pocKEr NUMBER(R¢¢. coun) y
CLE,`:"` F]'G EQ_-,;-M
\,.-:,'1; '\- " ' ‘-' .¢-‘,-.ig ""' r“
NAME AND ADDREss oF PRoBATIoNER/ DISTRICT ' ' ‘ DIvisloN ~_;J 'm m 35 '- -
SUPE"“SED RE’~EASEE WESTERN DIsTRIcT oF Westem O§*§ -;j
TENNESSEE '“C ~'
Jesus Manuel Chanez 2 trw `c r_`_
Aliase: Jesus Manuel Chanez-Guerrero NAME oF sENTENCINo JUDGE §§ §§ §§ `\i'€é
Honorable Julia Smith Gibbons :5;_1 --` '<E_-' ‘
DArEs or PRoBATloN/ sUPERvIsED FRoM z,-,;E;-'ETE) ,r
RELEASE: 10/04/2002 10/03/2005
oFFENsE
Conspiracy To Possess Cocaine With lntent to Distribute 21 USC §846

 

PART I - ORDER TRANSFERR|NG JURISDICTION

 

uNlTED sTATEs DlsTRIcT CoURT FOR THE DIsTRiCT or Western District of Tennessee (Mernphis)

 

lT IS HEREBY ORDERED that pursuant to 18 USC§ 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court of the United States District Court for the
District Court of Arizona (Tucson} upon that Court’s order of acceptance of jurisdiction. This Court hereby

expressly consents that the period of Probation or Supervised Release may be changed by the District Court to
which this transfer is made Without further inquiry of this Court.*

A-(v'-\ I°\,':.~QS` JA//Vi/Lm,.`

Date

 

United States District Judge

 

*This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURlSDlCTION

 

 

uNITED sTATEs DIsTRicT coURT FoR THE DIsTRicr oF District Court of Arizona (Tucson)

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be
accepted and assumed by this Court from and after the entry of this order.

\_/t°iO>/_
'Daté

 

 

/Umiea_sem-Di§tr’ict Judge

 

 

This document entered on the docket sheet |n compiiance

f
. f ,
Wrth Ftu|e 55 and/or 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 257 in
case 2:0]-CR-20156 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

